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 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            2:16-CR-00025-TLN
12                    Plaintiff,
                                                          PRELIMINARY ORDER OF
13           v.                                           FORFEITURE
14   LEONEL VILLA LOPEZ,
15                    Defendant.
16

17           Based upon the plea agreement entered into between plaintiff United States of America and

18 defendant Leonel Villa Lopez, it is hereby ORDERED, ADJUDGED, AND DECREED as follows:

19           1.       Pursuant to 21 U.S.C. § 853(a), defendant Leonel Villa Lopez’ interest in the following

20 property shall be condemned and forfeited to the United States of America, to be disposed of according

21 to law:

22                    a.      Approximately $5,466.00 in U.S. Currency.
23           2.       The above-listed property constitutes or is derived from proceeds obtained, directly or

24 indirectly, as a result of violations of 21 U.S.C. §§ 846 and 841(a)(1).

25           3.       Pursuant to Rule 32.2(b)(3), the Attorney General (or a designee) shall be authorized to

26 seize the above-listed property. The aforementioned property shall be seized and held by the U.S.
27 Marshals Service, in its secure custody and control.

28           4.       a.      Pursuant to 21 U.S.C. § 853(n) and Local Rule 171, the United States shall

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30                                                                                      Preliminary Order of Forfeiture
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 1 publish notice of the order of forfeiture. Notice of this Order and notice of the Attorney General’s (or a

 2 designee’s) intent to dispose of the property in such manner as the Attorney General may direct shall be

 3 posted for at least 30 consecutive days on the official internet government forfeiture site

 4 www.forfeiture.gov. The United States may also, to the extent practicable, provide direct written notice

 5 to any person known to have alleged an interest in the property that is the subject of the order of

 6 forfeiture as a substitute for published notice as to those persons so notified.

 7                   b.      This notice shall state that any person, other than the defendant, asserting a legal

 8 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

 9 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or
10 within thirty (30) days from receipt of direct written notice, whichever is earlier.

11          5.       If a petition is timely filed, upon adjudication of all third-party interests, if any, this Court

12 will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(a), in which all interests will be

13 addressed.

14          SO ORDERED this 7th day of September, 2017.

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17                                                                          Troy L. Nunley
                                                                            United States District Judge
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30                                                                                          Preliminary Order of Forfeiture
